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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
ANGELA HARMON )
Plaintiff, §
v. § Civil No. 04-2858-DV
SAM'S EAST, INC., §
Defendant. )

 

M]' ORDER GRANTING SAM'S EAST, INC.'S MOTION TO COMPEL
DISCOVERY

 

This matter came before the Court upon the Motion to Compel Discovery and
Memorandum in Support Thereof by counsel for Det`endant, Sarn's East, Inc. It appears to the
Court that the Motion is Well taken and it Should be and hereby is granted. 'Tl~" . ‘“’;L/¢/
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IT, lS, T RFORE, ORDERED, ADJUDG D, AND DECREED that Plaintiff respond
to Defendant Sam's East, Inc.'s First Set of Interrogatories and Request for Production of
Documents no later than fourteen (14) days after the entry of this Order.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff make its Rule
26(a)(l) Disclosures no later than seven (7) days after entry of this Order.

FURTHER BEING ORDERED, ADJUDGED AND DECREED that counsel for Sam's
East, Inc. produce an Aff`ldavit stating the amount of attorney's fees incurred by Sam's East, Inc
for the preparation of its Motion and Memorandum to Cornpel Discovery and that Plaintiff be

ordered to pay Such costs to Defendant Sarn's East, Inc.

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2325365-000110 04/25/05 with Rule 58 andfor 79(6) FFlCF’ O“ _r._)_QZ_O_Q__.__

 

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Date: WAAULA /g, 6200 S'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02858 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

